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            EXHIBIT 17
            Errata Sheet: Joshua Steven Houston
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Errata Sheet: Joshua Steven Houston (10/11/23) (Trial Day 15)

 Page and Line    Current                               Change To
 3642:6           To promote, advance                   To promote and advance
 3643:5           opera ons                             organiza ons
 3654:16          cumula ve, Mr. Ertel's previous       cumula ve of Mr. Ertel’s previous
                  tes mony.                             tes mony.
 3655:9           recrui ng poll watchers               recrui ng poll workers
 3655:17‐18       And we had a partnership with an      And we had a partnership with an
                  opera on called "Power the Polls,"    organiza on called “Power to the
                                                        Polls,”
 3655:23          Power the Polls                       Power to the Polls
